~ Case 1 1:20-cv-00452-WJM-SKC ~Document 25° Filed 07/08/20 USDC Colorado Page 1 of 2

 

 

 

 

 

 

 

 

* ' PROCESS RECEIPT AND RETURN
U.S: ‘ Départment of Justice ,
United States Marshals Service ao, See "Instructions for Service of Process by U.S Marshal”
; . . . ‘ . . EA L E D »
PLAINTIFF 5 DHS TCT OTC GOR ADS COURT CASE NUMBER ;
Tiffany Grays 2000 JUL=8_PH.3¢ 36 20-cv-00452-SKC-GPG
| DEFENDANT . TYPE OF PROCESS
- per een es ‘ *
NAME OF INDIVIDUAL, COMPANY, GYRPORATION. ET TDEP SER O OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
«| SERVE Equifax’ Inc. , :
4 , AT ADDRESS (Street or RFD. Apartment No.. City, State and ZIP Code).
tL - 1900 West Littleton Boulevard Littleton, CO 80120
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be 3
PF - - - served with this Form 285°
, Tiffany. Grays Number of pares tobe ¢
“ p, O. Box 472322 ; ‘ served in this case
} Aurora, CO 80047

’

 

ee

 

Check for service
on U S.A.

 

 

| PERSONAL ‘SERVICE

'

Signature of Attorney other Originator requesung service on behalf of: « PLAINTIFF

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT: WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
_ ft All Telephone Numbers, and Estimated Times Available for Service)

 

i s/A. Hinojosa-Lavalle | [1 DEFENDANT

os

 

TELEPHONE NUMBER
303-844-3433 |

DATE

 

 

Total Process | District of District to
number of process indicated

t 19 May 2020
; _ SPACE BELOW FOR USE OF U. S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
_ | lacknowledge receipt for the total

 

 

(Sign only for USM 285 if more
than oie USM 285 is submitted)

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No _

Serve

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Deputy or Clerk Date

 

toy . . ae a : :
I hereby certify and return that J ZH have personally served . [7] have legal evidence of service, —] have executed as shown in "Remarks". the process described on the
individual, company, corporation, etc.. at the address shown above on the on the indrvidual. company, corporation, etc shown at the address inserted below

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“+f
a
(i [hereby certify and return that ] am unable to locate the mdividual.’company, corporation. etc. named above (See remarks below)
Name and title of individual served (if not,shown above} ' , ’ Date Time am
t +
F. ore ; L/)5/2 0. J2.3S pyPn
i Address (complete only differént than shown Gbove)’ Signature of U S. Marshal or Deputy
f° Sone i
(E NL
- Service Fee Total Mileage Charges- | Forwarding Feé * Total Charges Advance Deposits | Amount owed to U.S. Marshal]* or . ‘
, (including endeavors) ‘ (Amount of Refund*)
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. Form USM-285
PRIOR VERSIONS OF THIS FORM ARE OBSOLETE *
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Rev. 11/18°

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” AO 440 (Rev 06/12) Summons in a Civil Action (Page 2)

« Civil Action No. 20-cv-00452-SKC-GPG » nt

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2.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

—"

_
This summons for (namé of individugl dnd title, if any) » 9. U7 Ly x La c
; was received by me on (date) G&G is /: 20

(J I personally served the summons on the individual at (place) 2

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«

 

. so (J I left the summons at the individual’s residence or usual place of abode with (name)

ons (date) , and mailed a copy to the individual’s last known address; or

OT served the summons on (name, of individual) Mgll lec. s bu p. C .

designated by law to accept service of process on behalf of (name ‘of organization)

i . . _ avi! Poe. Me.

Beatin
te

on (date) or

_ On (date) ” Ofis]o OQ > or

, aperson of suitable‘age and discretion who resides there.

 

 

4, © I returned the summons unexecuted because
C) Other (specify), \
t t
My fees are $ A for travel and $ Or . for services, for a total of $ 0.00
t
; 1 declare under penalty of perjury that this information is true.
Date: 6) sf20 ZO
Server's signature

    

‘

Be Joe 3

Pr inted name and title

| QO) _ fat yl. N Cavey

4 Server 's address :

Additional information regarding attempted service, etc:

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